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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

AUGUST DEKKER, et al.,                         No. 4:22-cv-00325-RH-MAF

                    Plaintiffs,

                    v.

SIMONE MARSTILLER, et al.,

                    Defendants.




ENDOCRINE SOCIETY’S RESPONSES AND OBJECTIONS TO RULE 45
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION AND
                TO PRODUCE DOCUMENTS

      Pursuant to Rules 26, 30, and 45 of the Federal Rules of Civil Procedure,

non-party Endocrine Society (“Endocrine Society”), through its undersigned

counsel, hereby responds and objects to the subpoena for deposition testimony and

the production of documents (“Requests”) served by Defendants Simone Marstiller

and the Agency for Health Care Administration, (“Defendants”) in the above-

captioned proceeding.

                              GENERAL OBJECTIONS
      The following General Objections are incorporated in full into all Specific

Objections set forth below:
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      1.     These responses are made solely for the purpose of this action. By

responding to the Requests, Endocrine Society does not waive any objections that

it may have to admission into evidence of these responses or any information

and/or documents produced in response to the Requests on any applicable grounds.

      2.     Endocrine Society objects to the Requests to the extent that they

impose obligations that go beyond, or that are otherwise inconsistent with, the

Federal Rules of Civil Procedure, the Local Rules of the Court, any Order of the

Court, or any other applicable law, rule, or order (collectively “Discovery Rules”).

      3.     Endocrine Society objects to the Requests to the extent they seek

discovery beyond any relevant, responsive, non-privileged, and non-duplicative

information and/or documents in its possession, custody, or control that would be

located after a reasonable search proportional to the needs of the case. Endocrine

Society will respond to these Requests in good faith, but observes that the Requests

on their face appear to seek information that is not relevant to any party’s claims or

defenses. See, e.g., Boe v. Marshall, No. 2022 WL 14049505, at *2 (M.D. Ala.

Oct. 24, 2022) (finding materials sought from a third party were irrelevant to a

similar lawsuit challenging restrictions on gender-affirming care in the State of

Alabama, reasoning that the “materials are unlikely to reveal or lead to any

information that would help resolve the fundamental issue in this case,” the

constitutionality of the challenged statute); see also North Carolina Right to Life,


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Inc. v. Leake, 231 F.R.D. 49, 51–52 (D.D.C. 2005) (holding that “[t]he mere filing

of an amicus brief … does not open oneself to broad discovery demands, nor does

it make one’s bias, if any, relevant to the underlying action” and that “imposing

such a burden on amici would undoubtedly discourage entities from making

amicus filings at all, so as to avoid subjecting themselves to severe scrutiny and

onerous discovery requests.”).

      4.     Endocrine Society objects to the Requests as overly broad and unduly

burdensome, particularly the burden of requiring a non-party to respond to multiple

deposition topics and multiple requests for documents, many with multiple sub-

parts, which demand “[a]ny Documents” and “[a]ny Communications” (emphasis

added) and are unbounded by time or any other limiting criteria. The cumulative

burden of responding to these Requests is not proportional to the needs of the case,

particularly because Endocrine Society is not a party to the case. Indeed, “concern

for the unwanted burden thrust upon non-parties is a factor entitled to special

weight in evaluating the balance of competing needs” under Rule 45 of the Federal

Rules of Civil Procedure. See, e.g., Va. Dep’t of Corrs. v. Jordan, 921 F.3d 180,

189 (4th Cir. 2019) (holding that “a more demanding variant of the proportionality

analysis” applies, and that courts “must give the recipient’s nonparty status special

weight, leading to an even more demanding and sensitive inquiry than the one

governing discovery generally.”).


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      5.     Endocrine Society objects to the Requests, and to the definitions and

instructions included in the Requests, to the extent that they assume facts and

events, include characterizations that are assumed to be accurate, or contain legal

conclusions. By responding to the Requests, Endocrine Society does not admit or

concede that any fact, event, characterization, or legal conclusion is correct or

accurate, and Endocrine Society reserves the right to contest all assumed facts,

events, characterizations, and legal conclusions.

      6.     Endocrine Society objects to the Requests, and to the definitions and

instructions included in this set of Requests, to the extent that they purport to

require that Endocrine Society identify and provide discovery with regard to “any”

or similar all-encompassing wording on the grounds that the Requests are

individually and collectively overly broad and unduly burdensome and seek

discovery not relevant to the parties’ claims and defenses nor proportional to the

needs of the case. To the extent that the Requests seek information and/or

documents that are not reasonably accessible because they cannot be retrieved or

produced without undue burden or cost, Endocrine Society objects because the

Requests are overly broad and unduly burdensome.

      7.     Endocrine Society objects to the Requests to the extent that they seek

information that can be obtained from the parties to this case, publicly available

sources, or other third parties, including from the parties’ experts.


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      8.     Endocrine Society objects to the Requests to the extent they seek

information and/or documents that are no longer reasonably obtainable by

Endocrine Society due to the passage of time, employee turnover, or because the

information is not stored on active systems.

      9.     Endocrine Society objects to the Requests to the extent that they seek

production of confidential or other sensitive information, and to the extent they

seek discovery of sensitive non-public information or disclosure of information

protected by any confidentiality obligation owed a third party.

      10.    Endocrine Society objects to the Requests to the extent that they seek

the production of information and/or documents that are protected by the attorney-

client privilege, the work product doctrine, the joint-defense or common interest

privilege, privacy laws (including patient and healthcare privacy laws), any other

applicable privilege, protection, or immunity, or that are otherwise exempted from

discovery. Endocrine Society hereby asserts all applicable privileges and

protections to the extent implicated by each Request, whether based on statute or

regulation or recognized at common law. In the event that any privileged

information and/or document is produced by Endocrine Society, its production is

inadvertent and does not constitute waiver of any privilege, protection, or

immunity.




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       11.   Endocrine Society objects to the Requests to the extent that they seek

the production of information and/or documents that are protected by the First

Amendment privilege, including but not limited to associational information. See,

e.g., Perry v. Schwarzenegger, 591 F.3d 1147, 1152 (9th Cir. 2010) (recognizing

that where “discovery would have the practical effect of discouraging the exercise

of First Amendment associational rights, the party seeking such discovery must

demonstrate a need for the information sufficient to outweigh the impact on those

rights”).

       12.   Endocrine Society’s objections are made to the best of its knowledge,

information, and belief. Endocrine Society reserves the right to revise, correct,

clarify, supplement, and/or amend the objections set forth herein, and reserves its

right to assert any and all other defenses or objections, including those permitted

by the Discovery Rules and the case law.


                       OBJECTIONS TO DEFINITIONS
       13.   Endocrine Society objects to the definitions of “You” and “Your” on

the grounds that they are overly broad, vague, ambiguous, and unduly burdensome

to the extent they seek production of information from entities other than

Endocrine Society. In responding to these Requests, Endocrine Society will

construe “You” and “Your” to refer to Endocrine Society.




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      14.    Endocrine Society objects to the definitions of “Document” and

“documents” to the extent that they seek to impose obligations on Endocrine

Society beyond those imposed by the Discovery Rules and/or seek information or

documents not in Endocrine Society’s possession, custody, or control.

      15.    Endocrine Society objects to the definition of “Communication” to the

extent that it seeks to impose obligations on Endocrine Society beyond those

imposed by the Discovery Rules and/or seek information or documents not in

Endocrine Society’s possession, custody, or control.

      16.    Endocrine Society objects to the definitions of “Gender Affirming

Care” as argumentative and/or inaccurate. However, solely for purposes of

responding to the subpoena, Endocrine Society will interpret the Requests

consistent with the provided Definitions, to the extent that they can be understood.

      17.    Endocrine Society objects to the definitions of “Members” and

“membership” on the grounds that they are overly broad, vague, ambiguous, and

unduly burdensome.


                     OBJECTIONS TO INSTRUCTIONS
      18.    Endocrine Society objects to Instruction Nos. 1, 2, 3, and 4 to the

extent that they impose obligations that go beyond, or that are otherwise

inconsistent with the Discovery Rules.




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             SPECIFIC OBJECTIONS TO DEPOSITION TOPICS
TOPIC NO. 1:
      [T]he Entity’s policy position on gender-affirming care for gender

dysphoria[.]

RESPONSE TO TOPIC NO. 1:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request to the extent that it fails to state with particularity the

requested information for testimony. Endocrine Society further objects to this

Request as vague, ambiguous, overly broad, and unduly burdensome, particularly

as to the phrase “policy position” and because it is unbounded by time. Endocrine

Society further objects to this Request to the extent that “the Entity’s policy

position on gender-affirming care for gender dysphoria” speaks for itself.

Endocrine Society further objects to the Request to the extent it seeks information

subject to a third-party’s right of privacy or protection.

      Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Topic.

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TOPIC NO. 2:
      [A]ny guidelines, standards, best-practices, or policy positions considered or

adopted by the Entity for the treatment of gender dysphoria[.]

RESPONSE TO TOPIC NO. 2:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request to the extent that it fails to state with particularity the

requested information for testimony. Endocrine Society further objects to this

Request as vague, ambiguous, overly broad, and unduly burdensome, particularly

as to the phrases “any guidelines, standards, best-practices, or policy positions”

and “considered or adopted,” and because it is unbounded by time. Endocrine

Society further objects to this Request to the extent that “any guidelines, standards,

best-practices, or policy positions considered or adopted by the Entity for the

treatment of gender dysphoria” speak for themselves. Endocrine Society further

objects to this Request to the extent that it is duplicative of Topic No. 1.




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      Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Topic.



TOPIC NO. 3:
      [A]ny side effects and risks associated with the treatments recommended by

through a guideline, standard, best-practice, or policy[.]

RESPONSE TO TOPIC NO. 3:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request to the extent that it fails to state with particularity the

requested information for testimony. Endocrine Society further objects to this

Request as vague, ambiguous, overly broad, and unduly burdensome, particularly

as to the phrases “any side effects and risks,” “associated with the treatments,” and

“guideline, standard, best-practice, or policy,” and because it is unbounded by

time. Endocrine Society further objects to this Request to the extent that it seeks

information that is publicly available and therefore equally available to all parties.



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      Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Topic.



TOPIC NO. 4:
      [H]ow the Entity is organized so that Defendants may determine the process

used to adopt (or approve) any guidelines, standards, best-practices, or policy

positions concerning the treatment of gender dysphoria[.] 1

RESPONSE TO TOPIC NO. 4:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request to the extent that it fails to state with particularity the

requested information for testimony. Endocrine Society further objects to this

Request as vague, ambiguous, overly broad, and unduly burdensome, particularly

as to the phrase “how the entity is organized” and “so that Defendants may



1
 The numbering in the original notice of deposition had two topics labeled “(3).”
The second of those two topics, and all subsequent topics, have been renumbered.

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determine the process,” and because it is unbounded by time. Endocrine Society

further objects to this Request to the extent that it seeks information that is publicly

available and therefore equally available to all parties.

      Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Topic.



TOPIC NO. 5:
      [H]ow many of the Entity’s members, if any, voted to support any

guidelines, standards, best-practices, or policy positions[.]

RESPONSE TO TOPIC NO. 5:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request to the extent that it fails to state with particularity the

requested information for testimony. Endocrine Society further objects to this

Request as vague, ambiguous, overly broad, and unduly burdensome, particularly

as to the phrase “voted to support any guidelines, standards, best-practices, or



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policy positions,” and because it is unbounded by time. Endocrine Society further

objects to this Request to the extent it seeks information that is protected by the

First Amendment privilege.

       Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Topic.



TOPIC NO. 6:
      [W]hy the Entity sought to file an amicus brief in this case.

RESPONSE TO TOPIC NO. 6:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request to the extent that it fails to state with particularity the

requested information for testimony. Endocrine Society further objects to this

Request as vague, ambiguous, overly broad, and unduly burdensome, particularly

as to the phrase “why [Endocrine Society] sought to file.” Endocrine Society

further objects to this Request to the extent it seeks information that is protected by



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the First Amendment privilege. Endocrine Society further objects to this Request

because it calls for documents protected by at least the attorney-client privilege

and/or the attorney work product doctrine.

      Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Topic.




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    SPECIFIC OBJECTIONS TO REQUESTS FOR PRODUCTION OF
                        DOCUMENTS
REQUEST NO. 1:

      Any documents that state the total number of your membership.

RESPONSE TO REQUEST NO. 1:

      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects that this is an interrogatory disguised as a document request. Endocrine

Society further objects to this Request to the extent that it seeks documents that are

publicly available and therefore equally available to all parties. Endocrine Society

further objects to the Request to the extent it seeks information subject to a third-

party’s right of privacy or protection.

      Subject to and without waiving the foregoing objections, Endocrine Society

directs Defendants to information available online, including on its website.

See, e.g., https://www.endocrine.org/membership.




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REQUEST NO. 2:
      Any documents that describe how you establish guidelines, standards, best-

practices, or policy positions.

RESPONSE TO REQUEST NO. 2:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request as vague, ambiguous, overly broad, and unduly

burdensome, particularly as to the phrases “how you establish” and “guidelines,

standards, best-practices, or policy positions,” and because it is unbounded by

time. Endocrine Society further objects to this Request to the extent that it seeks

documents that are publicly available and therefore equally available to all parties.

      Subject to and without waiving the foregoing objections, Endocrine Society

directs Plaintiffs to the information available online, including on its website. See,

e.g., https://www.endocrine.org/clinical-practice-guidelines/methodology.

Endocrine Society is willing to meet and confer about what additional responsive

documents, if any, Endocrine Society may agree to produce.



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REQUEST NO. 3:
      Any documents describing how you established guidelines, standards, best-

practices, or policy positions on gender-affirming care for gender dysphoria. Any

documents and communications showing the individuals or committees that

proposed, reviewed, modified, or voted on your guidelines, standards, best-

practices, or policy positions on gender-affirming care for gender dysphoria.

RESPONSE TO REQUEST NO. 3:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request as compound, as it appears to

encompass two separate document requests. Endocrine Society further objects to

this Request on the ground that it seeks information that is neither relevant to any

claim or defense in this case nor proportional to the needs of the case, particularly

in light of Endocrine Society’s status as a non-party. See Leake, 231 F.R.D. at 51–

52. Endocrine Society further objects to this Request as vague, ambiguous, overly

broad, and unduly burdensome, particularly as to the phrases “describing how you

established guidelines, standards, best-practices, or policy positions on gender-

affirming care” and “showing the individuals or committees that proposed,

reviewed, modified, or voted on your guidelines, standards, best-practices, or

policy positions on gender-affirming care,” and because it is unbounded by time.



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Endocrine Society further objects to this Request to the extent that it seeks

documents that are publicly available and therefore equally available to all parties.

Endocrine Society further objects to the Request to the extent it seeks information

subject to a third-party’s right of privacy or protection. Endocrine Society further

objects to this Request to the extent it seeks information that is protected by the

First Amendment privilege. Endocrine Society further objects to this Request to

the extent that it is duplicative of Request No. 2.

      Subject to and without waiving the foregoing objections, Endocrine Society

directs Defendants to information available online, including on its website. See,

e.g., https://academic.oup.com/jcem/article/102/11/3869/4157558 (“Method of

Development of Evidence-Based Clinical Practice Guidelines” and

“Commissioned Systematic Review” sections); see also

https://www.endocrine.org/-/media/endocrine/files/advocacy/society-

letters/2022/july-2022/response-to-fl-medicaid-nprm.pdf. Endocrine Society is

willing to meet and confer about what additional responsive documents, if any,

Endocrine Society may agree to produce.




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REQUEST NO. 4:
      Any communications with your membership concerning your guidelines,

standards, best-practices, or policy positions on gender-affirming care for gender

dysphoria.

RESPONSE TO REQUEST NO. 4:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request as vague, ambiguous, overly broad, and unduly

burdensome, particularly as to the phrase “concerning your guidelines, standards,

best-practices, or policy positions on gender-affirming care for gender dysphoria,”

and because it is unbounded by time. Endocrine Society further objects to the

Request to the extent it seeks information subject to a third-party’s right of privacy

or protection. Endocrine Society further objects to this Request to the extent it

seeks information that is protected by the First Amendment privilege.




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      Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Request and to discuss what, if any,

responsive documents Endocrine Society may agree to produce.



REQUEST NO. 5:
      Any documents and communications detailing your intention to file an

amicus brief in Dekker v. Marstiller, 4:22-cv-00325-RH-MAF (N.D. Fla.).

RESPONSE TO REQUEST NO. 5:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request as vague, ambiguous, overly broad, and unduly

burdensome, particularly as to the phrase “detailing your intention to file.”

Endocrine Society further objects to this Request to the extent it seeks information

that is protected by the First Amendment privilege. Endocrine Society further

objects to this Request because it calls for documents protected by at least the

attorney-client privilege and/or the attorney work product doctrine.



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      Endocrine Society will not produce documents in response to this improper

Request.



REQUEST NO. 6:

      Any documents and communications with consultants, federal or Florida

government officials, lobbyists, researchers, scholars, members of the public, or

any other person relating to gender dysphoria or your guidelines, standards, best-

practices, or policy positions on gender-affirming care for gender dysphoria.

RESPONSE TO REQUEST NO. 6:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request as vague, ambiguous, overly broad, and unduly

burdensome, particularly as to the phrases “or any other person” and “relating to

gender dysphoria or your guidelines, standards, best-practices, or policy positions

on gender-affirming care for gender dysphoria,” and because it is unbounded by

time. Endocrine Society further objects to the Request to the extent it seeks



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information subject to a third-party’s right of privacy or protection. Endocrine

Society further objects to this Request to the extent it seeks information that is

protected by the First Amendment privilege.

      Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Request and to discuss what, if any,

responsive documents Endocrine Society may agree to produce.



REQUEST NO. 7:
      Any documents and communications showing any side effects and risks

associated with the treatments recommended through your guidelines, standards,

best-practices, or policy positions on gender-affirming care for gender dysphoria.

RESPONSE TO REQUEST NO. 7:
      Endocrine Society incorporates the foregoing General Objections,

Objections to Definitions, and Objections to Instructions as if fully set forth herein.

Endocrine Society further objects to this Request on the ground that it seeks

information that is neither relevant to any claim or defense in this case nor

proportional to the needs of the case, particularly in light of Endocrine Society’s

status as a non-party. See Leake, 231 F.R.D. at 51–52. Endocrine Society further

objects to this Request as vague, ambiguous, overly broad, and unduly

burdensome, particularly as to the phrases “showing any side effects and risks,”



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“associated with the treatments,” and “your guidelines, standards, best-practices, or

policy positions on gender-affirming care for gender dysphoria,” and because it is

unbounded by time. Endocrine Society further objects to this Request to the extent

that it seeks documents that are publicly available and therefore equally available

to all parties.

       Subject to and without waiving the foregoing objections, Endocrine Society

is willing to meet and confer about this Request and to discuss what, if any,

responsive documents Endocrine Society may agree to produce.




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  Dated: December 2, 2022           Respectfully submitted,

                                    /s/ Cortlin H. Lannin
                                    Cortlin H. Lannin

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                                    Counsel for Non-Party Endocrine
                                    Society




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                        CERTIFICATE OF SERVICE

      I, the undersigned, certify that copies of the foregoing Endocrine Society’s

Responses and Objections to Rule 45 Subpoena to Testify at a Deposition in a

Civil Action and to Produce Documents were delivered to the following parties

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 Dated: December 2, 2022

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